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                          DECLARATION OF SCOTT CARLSON


I, Scott Carlson, declare as follows:

        1.    I am the Associate Executive Director in charge of the Center for Global

Programs at the American Bar Association (ABA). The statements made in this declaration

are based on my personal knowledge and my understanding of information made available to

me pursuant to my duties at the ABA.

        2.    The ABA is a non-partisan organization, founded in 1878 with a mission to

defend liberty and pursue justice in the United States. Its Fund for Justice and Education (ABA

FJE), the 501(c)(3) charitable fund of the Association, features many pro bono, public service,

and education programs that improve access to justice in the United States and globally.

        3.    The ABA Center for Global Programs (CGP) is an ABA FJE-entity whose

mission serves the ABA’s Goal IV: Advance the Rule of Law. For 35 years, and in more than

100 countries, ABA CGP has, at the behest of, and in partnership with, the U.S. Agency for

International Development (USAID), U.S. Department of State, and other U.S. government

agencies, implemented international rule of law and human rights programming that supports

U.S. national interests. ABA believes that a strong rule of law and participatory democracies

around the world result in a safer, more prosperous, and stable planet. Moreover, functioning

and fair justice systems create more favorable environments for U.S. business interests and

enhance the viability of global markets.

        4.    ABA has not received any payments from USAID or U.S. Department of State

since the TRO was issued on February 13, 2025. Currently the ABA is entitled to almost $67

million in obligated funds from USAID, U.S. Department of State, and/or ABA’s prime

implementing partners originating from these two sources, but neither USAID nor U.S.

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 Department of State has yet disbursed the funds owed for the January 1 through 24th, 2025

 time period.

         5.      For January 1 through 24th 2025 time period, the American Bar Association is owed

$3,496,048.62 in direct payments through drawdowns in the Payment Management System and $1,314,427 in

payments from pass-through organizations, for a total past due amount of $4,810,475.62.




I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 20, 2025, in Washington, DC.




                                                                       Scott Carlson
                                                                       Associate Executive Director
                                                                       American Bar Association




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